Case: 1:15-cv-09986 Document #: 551-18 Filed: 09/07/23 Page 1 of 11 PageID #:24209




              EXHIBIT 18
                                        to

          Defendants’ Motions in Limine
              regarding Damages




                    Baxter Int’l, Inc. v. CareFusion Corp. et al.
                        N.D. Ill. Case No. 1:15-cv-09986
Case: 1:15-cv-09986 Document #: 551-18 Filed: 09/07/23 Page 2 of 11 PageID #:24210

                                                                                     1

     1                     IN THE UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
     2                              EASTERN DIVISION

     3
          BAXTER INTERNATIONAL, INC.,     )
     4                                    )
                           Plaintiff,     )
     5                                    )           No. 15 C 9986
                      vs.                 )           Chicago, Illinois
     6                                    )           August 10, 2023
          CAREFUSION CORPORATION, et al., )           10:30 a.m.
     7                                    )
                           Defendants.    )
     8

     9                           TRANSCRIPT OF PROCEEDINGS

    10                  BEFORE THE HONORABLE NANCY L. MALDONADO

    11    APPEARANCES:
          For the Plaintiff:                MARSHALL, GERSTEIN & BORUN
    12                                      233 South Wacker Drive
                                            6300 Sears Tower
    13                                      Chicago, Illinois 60606-6357
                                            BY: MS. JULIANNE M. HARTZELL
    14
          For the Defendants:               FREDRIKSON & BYRON, P.A.
    15                                      60 South 6th Street
                                            Suite 1500
    16                                      Minneapolis, Minnesota 55402-4400
                                            BY: MR. KURT J. NIEDERLUECKE
    17
                                            TOTTIS LAW
    18                                      401 North Michigan Avenue
                                            Suite 530
    19                                      Chicago, Illinois 60611
                                            BY: MR. KEVIN TOTTIS
    20
                                            WILMER CUTLER PICKERING HALE and
    21                                      DORR LLP
                                            7 World Trade Center
    22                                      New York, New York 10007
                                            BY: MR. OMAR KHAN
    23
          Official Court Reporter:          JENNIFER COSTALES, CRR, RMR, CRC
    24                                      219 S. Dearborn St., Room 2342
                                            Chicago, Illinois 60604
    25                                      (312) 435-5895
                                            jenny.uscra@yahoo.com
       Case: 1:15-cv-09986 Document #: 551-18 Filed: 09/07/23 Page 3 of 11 PageID #:24211

                                                                                             2

            1         (Proceedings via Webex)

            2               THE COURTROOM DEPUTY:        Good morning.      Case 15 CV

            3    9986, Baxter International versus CareFusion Corporation.

            4               If plaintiff's counsel can please state their name.

10:32:46    5               MS. HARTZELL:      Good morning.      Julianne Hartzell of

            6    Marshall Gerstein & Borun on behalf of plaintiff Baxter.

            7               MR. TOTTIS:     Good morning, Your Honor.         Kevin Tottis

            8    along with Omar Khan and Kurt Niederluecke on behalf of

            9    defendants.     Mr. Khan will be taking the primary role here,

10:33:08   10    Your Honor.

           11               THE COURT:     Thank you, counsel.

           12               So I reviewed your status report and was able to

           13    squeeze you in this morning to have a conversation about what

           14    to do about motions in limine.          I saw that depositions have

10:33:26   15    been completed.      And I'll hear from both of you briefly.

           16               You know, I will say to start I am leaning towards

           17    more of not sticking with the set schedule here, because I

           18    will say the schedule that I set previously with respect to

           19    all motions in limine would have them fully briefed in the

10:33:53   20    beginning of February with the pretrial conference in the

           21    middle of February.

           22               I mean, it strikes me frankly that irrespective of

           23    whether I allow any supplemental expert report, which I'm kind

           24    of a little sceptical of at this point, the parties are served

10:34:13   25    by having some clarity here, because I suspect that these
       Case: 1:15-cv-09986 Document #: 551-18 Filed: 09/07/23 Page 4 of 11 PageID #:24212

                                                                                             3

            1    aren't going to be the only motions in limine, and to sort of

            2    put this more on the front burner to provide clarity would be

            3    a benefit to both sides.

            4               So that's sort of my initial sort of reaction to

10:34:29    5    having read your status report.          But perhaps I'll hear from

            6    the plaintiff first, Ms. Hartzell, on your position and then

            7    from Mr. Khan.

            8               MS. HARTZELL:      Thank you, Your Honor.        Understanding

            9    the position that the Court has referenced or expressed,

10:34:48   10    plaintiff believes that having one-sided motions in limine

           11    only from the defendants in advance would be unfair to the

           12    plaintiff.     All parties have evidence that they believe should

           13    be excluded and should be given an equal opportunity to

           14    address those.

10:35:05   15               Just because Baxter's expert report was excluded does

           16    not make this case particularly unusual or require that it be

           17    treated in a different manner than other cases.

           18               Additionally, it does appear that defendants are

           19    trying to reopen fact discovery as well as expert discovery.

10:35:24   20    We have recently received some documents that have been in the

           21    defendants' possession for more than a decade that were just

           22    produced to us years after fact discovery was closed.

           23               So we don't believe that there is any basis for

           24    reopening the case to the extent that the defendants are

10:35:40   25    seeking to do here, and we believe that to the extent that
       Case: 1:15-cv-09986 Document #: 551-18 Filed: 09/07/23 Page 5 of 11 PageID #:24213

                                                                                              4

            1    there is any motion practice, it should be mutual and should

            2    not be front-loaded to allow the defendants additional pages,

            3    additional motion practice and additional time to deal with

            4    the outcome of those motions.

10:35:58    5               THE COURT:     Okay.    I hear you, Ms. Hartzell.

            6               Here is the thing that you all -- first off, I am not

            7    inclined to move this trial date.          This has been set.        I've

            8    given you guys I think a week and a half.            It's been set.        I'm

            9    not inclined to move it.

10:36:14   10               So it seems like this is sort of -- I don't want this

           11    bubbling up.     The fact that I allowed these depositions, in

           12    some cases second depositions of fact witnesses to sort of

           13    provide clarity as I understood that the information that

           14    these witnesses were relying on in these interrogatory

10:36:44   15    responses were based on all information that has been

           16    disclosed, but it was sort of just packaging it so that it

           17    wasn't new.     So this is why I'm sceptical as to why an expert

           18    report is needed.

           19               But to sort of reopen fact discovery, reopen expert

10:37:02   20    discovery, I am very reluctant to do that.             I just want to put

           21    that out there.      I want to keep this date.

           22               Now, Ms. Hartzell, you know, I was thinking damages

           23    have been an issue in this case, right.

           24               MS. HARTZELL:      Correct.

10:37:19   25               THE COURT:     Obviously when it came to me I was like,
       Case: 1:15-cv-09986 Document #: 551-18 Filed: 09/07/23 Page 6 of 11 PageID #:24214

                                                                                            5

            1    okay, no expert.      Fact -- I mean, it's an issue.          And so a

            2    logical sort of piece -- sort of front-load would be damages.

            3               Now, because I'm not saying I have time to sort of

            4    take a priority look at all the motions in limine and rule on

10:37:46    5    all of them early.       I mean, I have limited resources.           I'm one

            6    person.    So this is why I typically, typically do motions in

            7    limine in the four to six weeks before trial and so it's fresh

            8    in my mind, I dig in.

            9               The reason why I am even considering expediting it

10:38:05   10    here is because damages have been an issue.             So when you talk

           11    about you want to do all these other motions, golly, you can

           12    do all those motions, but is there any reason why to expedite

           13    any other motions from the plaintiff's perspective, any other

           14    categories?     Because the damages category to me seemed narrow

10:38:31   15    and for a good reason, because it's been, since I got the

           16    case, it's been all about damages, right.

           17               So what else would you want to front-load?

           18               MS. HARTZELL:      Well, there are several other portions

           19    of the defendants' case that plaintiff expects to seek to

10:38:47   20    exclude.    And as a matter of fairness, we believe that those

           21    should be addressed in the same page limits and number of

           22    motions as defendants are given.

           23               For example, there was a lot of questioning of the

           24    fact witnesses regarding a recall of Baxter's product.                We

10:39:05   25    don't think that that's relevant to this case.
       Case: 1:15-cv-09986 Document #: 551-18 Filed: 09/07/23 Page 7 of 11 PageID #:24215

                                                                                            6

            1                There was testimony or questioning of the fact

            2    witnesses about defendants' patent, which is not at issue in

            3    this case and we believe that that is not something that's

            4    relevant.

10:39:16    5                So those are the kinds of things that we believe we

            6    will seek to exclude.       And we don't believe that it

            7    necessarily needs to be moved up, but if anything is moved up,

            8    we think it should all be addressed on equal footing and in

            9    equal time.

10:39:33   10                THE COURT:    Okay.    So when you say "on equal footing

           11    and equal time," here, you can hold me accountable for being

           12    fair.   You've seen in my pretrial standing order, I want you,

           13    I like the omnibus one, two, three, four, five motions in

           14    limine in one brief.

10:39:49   15                Now, I understand that that may not work in this case

           16    because of the complexity of the issues involved.               I will

           17    obviously give parity here and not allow defendant to go wild

           18    with motions in limine and not allow plaintiff to file the

           19    same, you know, the same page number, you know.              In terms of

10:40:16   20    the same number, I will be fair to both sides here.

           21                I guess the issue is I'm not going to do all the

           22    motions in limine early.        I just don't have the bandwidth to

           23    do that.    It would be nice if everyone had, you know, three,

           24    four months in advance of trial complete clarity on their

10:40:40   25    motions in limine.       Wouldn't that be a fantastic world.           I
       Case: 1:15-cv-09986 Document #: 551-18 Filed: 09/07/23 Page 8 of 11 PageID #:24216

                                                                                            7

            1    don't see that happening here due to my extensive caseload

            2    including criminal cases.

            3               However, the reason why I'm considering doing this

            4    for damages only is because this has been a sticking point in

10:40:58    5    this case that I think also has prevented sort of discussion

            6    of resolution of the case.         You know, I'm happy to try this

            7    case, but it struck me that if you all knew what was in or out

            8    in terms of damages, it could help you evaluate your positions

            9    for settlement.      You know, that's the other reason to do

10:41:21   10    damages first as well, no?

           11               MS. HARTZELL:      Well, Your Honor, we were faced during

           12    our settlement negotiations with the position taken by

           13    defendants that once the Court revolved the motion to strike,

           14    then they might be in a position to negotiate.              But that was

10:41:37   15    resolved, and we're back again having this discussion yet

           16    again.    So I'm not certain how much that clarity would assist.

           17               THE COURT:     Okay.    I'll hear from you now, Mr. Khan.

           18               MR. KHAN:     Your Honor, from our perspective, the

           19    Court gave extraordinary, extraordinary leeway to Baxter in

10:41:57   20    essentially supplementing its disclosures years after the

           21    close of fact discovery.        And, you know, and the Court, we

           22    respect the Court's ruling on that issue.

           23               But one consequence of that, Your Honor, is something

           24    we foreshadowed right there in the April hearing, was we're

10:42:11   25    going to need to come back to you all after taking these
       Case: 1:15-cv-09986 Document #: 551-18 Filed: 09/07/23 Page 9 of 11 PageID #:24217

                                                                                                  8

            1    depositions to understand the shape of the damages case.                   And

            2    I think Your Honor is taking a very practical approach in

            3    expediting that one issue, you know, and allowing us an

            4    opportunity to show you why we think, you know, it's not just

10:42:29    5    in limine motions, but also we believe on timeliness issues

            6    with respect to the damages case, and we think that is

            7    absolutely appropriate.

            8                With respect to expert reports, Your Honor, we're

            9    happy to, you know, brief that for you on the same pace.                   We

10:42:46   10    think there is enough time for that to be addressed at the

           11    same pace as the motion practice directed to their damages

           12    evidence.

           13                Your Honor, it is critical for us to have the ability

           14    for our experts to respond, and I'll give you one example why.

10:43:00   15    Throughout the life of this case, the entire case, there is a

           16    license called the Cerner license.           Their expert, all of their

           17    experts, all of our experts said that that license was

           18    irrelevant.     Our expert didn't analyze that license in any

           19    great detail because he said, Well, you know, Baxter's expert

10:43:17   20    said it's irrelevant.       I agree.     And he didn't analyze that.

           21                Now what we've got is an interrogatory response from

           22    them served a couple months ago that has all this detail about

           23    it, their witnesses testified about it.            The expert has to be

           24    able to analyze and assess that license and, you know, any

10:43:32   25    other underlying documents relating to that licensing in
      Case: 1:15-cv-09986 Document #: 551-18 Filed: 09/07/23 Page 10 of 11 PageID #:24218

                                                                                            9

            1   context now.

            2              And I think that's the kind of thing that we're

            3   talking about.      We're not talking about a freewheeling right

            4   to sort of put in new reports.          We're talking about a very

10:43:45    5   targeted set of issues as to which our expert did not get an

            6   opportunity to respond.

            7              I don't think we're talking about -- you know, we are

            8   not looking to delay the case.          We're not looking to push the

            9   trial date.     We think everything that we're asking for can be

10:44:00   10   accommodated within the time frame provided.

           11              In fact, one of the things that we were going to

           12   propose to you all, to the Court essentially was, you know,

           13   we're comfortable so long as the Court would permit our

           14   experts to respond to the evidence and contentions that Baxter

10:44:19   15   recently put in.       We're comfortable, we're comfortable

           16   foregoing reports to the extent that our expert hadn't

           17   addressed it in his report already.

           18              But if the Court would like everything sort of

           19   formalized in a report, then we can serve such a report very

10:44:35   20   quickly after the Court's rulings and get that done very

           21   quickly.     We're not looking to delay the case at all.

           22              I think, you know, Ms. Hartzell spoke about parity.

           23   You know, certainly this is not an issue of CareFusion's

           24   making.    You know, as I've already alluded to, there was

10:44:55   25   extraordinary leeway given to Baxter in supplementing its
      Case: 1:15-cv-09986 Document #: 551-18 Filed: 09/07/23 Page 11 of 11 PageID #:24219

                                                                                            18

            1              Okay.    Thank you.

            2              MS. HARTZELL:      Thank you, Your Honor.

            3              MR. TOTTIS:      Thank you very much.

            4              THE COURT:     Thanks.

10:56:19    5              MR. KHAN:     Thank you.

            6         (Proceedings concluded)

            7                             C E R T I F I C A T E

            8              I, Jennifer S. Costales, do hereby certify that the

            9   foregoing is a complete, true, and accurate transcript of the

           10   proceedings had in the above-entitled case before the

           11   Honorable NANCY L. MALDONADO, one of the judges of said Court,

           12   at Chicago, Illinois, on August 10, 2023.

           13

           14                               /s/ Jennifer Costales, CRR, RMR, CRC

           15                               Official Court Reporter

           16                               United States District Court

           17                               Northern District of Illinois

           18                               Eastern Division

           19

           20

           21

           22

           23

           24

           25
